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 6   Attorney for Defendant
     SHERLYN CHARLES
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                                  )
     UNITED STATES OF AMERICA                           Case No.: 2:14-cr-0239−GEB
                                                    )
11                                                  )
                           Plaintiff,                   STIPULATION AND ORDER TO
                                                    )   CONTINUE STATUS CONFERENCE
12                                                  )
     vs.                                            )
13                                                  )
     SHERLYN CHARLES,                               )
14                                                  )
                  Defendant
                                                    )
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            The United States of America, through its counsels of record, Mc Gregory W. Scott,
17
     United States Attorney for the Eastern District of California, and Jill Thomas, Assistant United
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19   States Attorney, and defendant Sherlyn Charles, through her attorney, Ronald Peters, Esq, hereby
20   stipulate and agree that the Status Conference scheduled for March 23, 2018 at 9:00 am shall be
21
     continued to May 4, 2018 at 9:00 am.
22
            Defense requests additional time to review discovery and continue to undergo defense
23

24   investigation. Accordingly the defendant agrees that a Local Rule T-4 exclusion would be

25   applicable.
26
            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1   Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
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     time be excluded under this provision March 23, 2018 through May 4, 2018.
 3
                                                         Respectfully Submitted,
 4                                                       MC GREGORY W. SCOTT
 5
                                                         United States Attorney

 6
     DATE: March 21, 2018                                /s/ Ron Peters for Jill Thomas    _
 7                                                       JILL THOMAS
 8                                                       Assistant U.S. Attorney

 9
     DATE: March 21, 2018                                /s/Ron Peters                    __
10
                                                         RON PETERS
11                                                       Attorney for Defendant
                                                         Sherlyn Charles
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                              STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1                                                      ORDER
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            The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation
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 5
     of the parties, the Court finds that the failure to grant a continuance in this case would deny

 6   defense counsel reasonable time necessary for effective preparation, taking into account the
 7   exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
 8
     the ends of justice served by the granting of such continuance outweigh the interests of the public
 9
     and that the time from the date of the stipulation, March 23, 2018, to and including May 4, 2018.
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11           It is so ordered.

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            Dated:       March 22, 2018
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                                 STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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